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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE


  GLORIA BLACK-MEADOWS, in her              :
  Capacity as Administrator ad              :       Civil No. 20-6951 (JHR/AMD)
  Prosequendum of the ESTATE OF             :
  LASHANDA ANDERSON, deceased,              :
  et al.,                                   :
                                            :
                  Plaintiff(s),             :
                                            :
             v.                             :
                                            :
  DEPTFORD TOWNSHIP, et al.                 :
                                            :
                  Defendants.               :
                                            :



  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
    MOTION TO DISMISS THE WRONGFUL DEATH CLAIMS OF LAKEIMA SAVAGE,
                        RAZAYIA ROGERS, AND R.R.




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  A.    The District Court opinion summarily cited by defendants as the only authority in
        support of the relief sought in this Motion is not binding on this Court and although
        it may be considered, it should not be applied.

  B.    Defendants’ Motion should be denied as the District Court must apply New Jersey
        Law to fill the gap where Federal Law is deficient, and New Jersey Law provides
        that the children of a decedent killed by the wrongful act(s) of another have
        standing to bring individual claims for the pecuniary loss caused by the death of
        their deceased family member.

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                                  TABLE OF CITATIONS


       CASES

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       Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

       Estate of Guled ex rel. Abdi v. City of Minneapolis, 869 F.3d 680, 683
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       Gangemi v. National Health, 291 N.J. Super. 569, 574-75 (1996)

       Hottenstein v. City of Sea Isle City, 977 F.Sup.2d 353, 365 (D.N.J.2013)

       Victaulic Co. v. Tieman, 499 F.3d 227, 234 (3d Cir. 2007)

       White v. City of Vineland, 2022 U.S. Dist. LEXIS 199436* (Nov. 2, 2022)

       STATUTES

       N.J.S.A. 2A:31-4
       42 U.S.C. §1988(a)
       N.J. STAT. A NN. § 2A:31-2
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  I.         SUMMARY

         This civil action arises out of the fatal police shooting of Lashanda Anderson on June 9,

  2018 by then Deptford Township Police Sergeant Kevin Clements. Plaintiff’s Complaint and

  Amended Complaint allege causes of action related to Federal and State constitutional rights

  violations stemming from the police shooting. The Amended Complaint filed 12/07/2020 pleads

  counts for violations of Federally Protected Civil Rights under 42 U.S.C. 1983 against Kevin

  Clements, William Bittner and the Deptford Township Police Department. Those counts relate

  to the use of Excessive Force, Conspiracy to Violate Civil Rights and Monell Claims against

  Deptford Township and Police Chief William Hanstein. They also include violations under the

  New Jersey Civil Rights Act, and various counts under New Jersey State Tort Law.

         Lashanda Anderson died intestate. The Amended Complaint names Gloria Black

  Meadows, the sister of Lashanda Anderson, in her capacity as the

  Administratrix Ad Prosequendum of the Estate of Lashanda Anderson. The Amended

  Complaint likewise names the plaintiff’s two (2) adult children, Lakeima Savage, Razayia

  Rogers, and Lashanda’s minor child, R.R. , by and through her guardian Norma Johnson in their

  individual capacity. Each of the surviving children assert individual causes of action brought

  under the New Jersey Wrongful Death Act.

         Defendants now move to dismiss Count VIII of the Amended Complaint, which alleges

  Wrongful Death on behalf each of Lashanda Anderson’s surviving children. Defendants do so

  by doing little more than providing the Court with a copy of a recent District Court Opinion that

  this Court is neither bound by, nor should find particularly persuasive. For the reasons set forth

  below, the Motion to Dismiss the Wrongful Death claims filed on behalf of plaintiff Lashanda

  Anderson’s children should be denied.


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 II.      LEGAL STANDARD

          To survive a motion to dismiss under Rule 12(b)(6), a civil plaintiff must allege facts that

  "'raise a right to relief above the speculative level.'" Victaulic Co. v. Tieman, 499 F.3d 227, 234

  (3d Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L.

  Ed. 2d 929 (2007)). A complaint must contain "sufficient factual matter, accepted as true, to

  'state a claim to relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct.

  1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Twombly, 550 U.S. at 570). To satisfy the

  plausibility standard, a plaintiff's allegations must show that defendant's liability is more than "a

  sheer possibility." Id. "Where a complaint pleads facts that are 'merely consistent with' a

  defendant's liability, it 'stops short of the line between possibility and plausibility of entitlement

  to relief.'" Id. (quoting Twombly, 550 U.S. at 557).

          In Twombly, the Supreme Court used a "two-pronged approach," which it later

  formalized in Iqbal. Iqbal, 129 S. Ct. at 1950; Fowler v. UPMC Shadyside, 578 F.3d 203, 210-

  11 (3d Cir. 2009). Under this approach, a district court first identifies those factual allegations

  that constitute nothing more than "legal conclusions" or "naked assertions." Twombly, 550 U.S.

  at 555, 557. Such allegations are "not entitled to the assumption of truth" and must be

  disregarded. Iqbal, 129 S. Ct. at 1950. The court then assess "the 'nub' of the plaintiff['s]

  complaint—the well-pleaded, nonconclusory factual allegation[s] . . . to determine" whether it

  states a plausible claim for relief.




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  III. LEGAL ARGUMENT


  A.   The District Court opinion summarily cited by defendants as the only authority in
       support of the relief sought in this Motion is not binding on this Court and although
       it may be considered, it should not be applied.

       Defendants move to dismiss all wrongful death claims filed by the children of decedent

       Lashanda Anderson contained in the Amended Complaint. Defendants cite to White v.

       City of Vineland, 2022 U.S. Dist. LEXIS 199436* (Nov. 2, 2022) as the only authority

       for the relief sought in this Motion.

       Without doing anything more than providing the Court and counsel with a copy of this

       recent Opinion, Defendants ask the Court to do the heavy lifting and to analyze the White

       Opinion and apply it to the case at bar. Defendants’ brief contains no genuine attempt at

       a substantive argument on this fairly complex legal issue and simply points to the White

       opinion and, in essence, asks this Court to “please do what Judge Wolson did.”

       As a preliminary matter, the unpublished opinion recently passed down from Judge

       Wolson of the United States District Court for the Eastern District of Pennsylvania,

       sitting temporarily in the United States District Court for the District of New Jersey, is

       neither binding nor precedential on this Court. It is axiomatic that prior District Court

       Opinions are not binding and do not constitute precedent in other District Court matters.

       The procedural and factual circumstances surrounding the White opinion are not

       sufficiently similar to the case at bar and the Opinion departs significantly from how

       Wrongful Death claims in Civil Rights cases have historically been treated in this

       jurisdiction. It is respectfully submitted that the Court in this case should decline to apply

       the White decision as the defendants make no attempt to explain how the reasoning in

       that case applies in this matter. Accordingly, the defendants’ Motion to Dismiss should

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         be denied and the Wrongful Death claims should proceed as they are currently plead on

         behalf of the children of Lashanda Anderson in the Amended Complaint.


  B.     Defendants’ Motion should be denied as the District Court must apply New Jersey
         Law to fill the gap where Federal Law is deficient, and New Jersey Law provides
         that the children of a decedent killed by the wrongful act(s) of another have
         standing to bring individual claims through the administrator of the Estate of the
         deceased plaintiff for the pecuniary loss caused by the death of their deceased family
         member.

         Should this Court be inclined to analyze White and consider the viability of the Wrongful

  Death Claims brought by the children of the decedent in this case, Plaintiffs respectfully submit

  that the White decision does not stand for the proposition that the Wrongful Death claims

  brought by the children in this case must be dismissed outright at the beginning of the case, as it

  is assumed the defendants are arguing here. Rather, it merely stands for the proposition that the

  Wrongful Death claims of the children must be plead through the Administrator of the decedent’s

  estate. To the extent that the Court agrees, plaintiffs hereby cross-move, and respectfully request

  leave to file a Second Amended Complaint wherein the Wrongful Death claims of the children in

  this case will be plead by and through the Administrator of the Estate, Gloria- Black Meadows.

         In White, Judge Wolson, Sua Sponte, raised the issue that he referred to as “standing” at

  the end of an over two week-long contentious jury trial that involved over 15 fact witnesses and

  many hours of medical testimony. Without any prompting whatsoever from the Defendants, the

  Court raised the issue as to whether the Counts for Wrongful Death plead in the White

  Complaint in the names of the decedent’s children as plaintiffs individually should make it to the

  jury on the verdict sheet.

         With little, if any, argument on the issue from the defense, Judge Wolson dismissed these

  claims, finding that the children of the decedent lacked standing to present claims for Wrongful


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  Death in their individual capacity resulting from constitutional rights violations sustained by

  their father while he was alive. This decision was reached over the objection and opposition of

  plaintiffs. It must be noted, if the Court is not already aware, that counsel in the White case for

  both the plaintiffs and the defendants are the attorneys involved in this matter.

         In White, the Eastern District Court of Pennsylvania Judge, sitting temporarily in the

  District of New Jersey on assignment, dismissed the Wrongful Death Counts contained in the

  Amended Complaint in the names of the children as plaintiffs individually. Crucially, however,

  Judge Wolson recognized in the opinion that federal law in the 3rd Circuit customarily imports

  New Jersey’s Wrongful Death and survivorship actions in Section 1983 cases. In support of his

  decision to dismiss the Counts in the names of the children, however, he observed that “section

  1983 only provides for liability ‘to the party injured.’” See White, citing " 42 U.S.C. § 1983. He

  stated that the language of 42 U.S.C. 1983 makes clear that only a victim (or his representative)

  can sue, not someone else . . . [a]nd the NJCRA is co-extensive with section 1983.” White,

  (citing Hottenstein v. City of Sea Isle City, 977 F.Sup.2d 353, 365 (D.N.J.2013). Ephasis added.

         Judge Wolson goes on to state the following:

         Even if Section 1983 were unclear about the scope of the legally protected
         interest, and it is not, Mr. White's children would not have a legally
         protected interest. In the absence of statutory guidance, Congress has
         directed courts to look to state law to determine who is a proper
         plaintiff. See 42 U.S.C. §1988(a); Estate of Guled ex rel. Abdi v. City of
         Minneapolis, 869 F.3d 680, 683 (8th Cir. 2017). Both the New Jersey
         Wrongful Death Act and the New Jersey Survivorship Act name the estate
         administrator as the proper plaintiff when an injured party dies. See N.J.
         STAT. A NN. § 2A:31-2 (2021); N.J. STAT. A NN. § 2A:15-3 (2021).
         Therefore, only Ms. White, acting as Administratrix Ad Prosequendum of
         Mr. White's estate, is a proper plaintiff under Section 1983.

         Thus, the White decision, to the extent that the Court finds it persuasive at all, merely

  stands for the proposition that a child cannot be named as the plaintiff in a wrongful death action


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  stemming from the constitutional rights violation of a parent. It holds that the proper plaintiff

  when Wrongful Death is plead in Civil Rights cases in Federal Court that Apply the NJ Wrongful

  Death Statute must be plead by and through the Administrator of the decedent’s estate.

         Judge Wolson reached the conclusion that children have no standing to sue in civil rights

  cases in this context, but it is respectfully submitted that it would be more accurate to state that

  there is no cause of action that allows a child to be named as the plaintiff in order to recover

  damages resulting from a parent’s death in a civil rights case. The children have standing to

  bring such Wrongful Death Actions by and through the administrator of the estate. The damages

  recoverable in a wrongful death case are for the benefit of the heirs of the estate, which would

  include the decedent’s children.

         Standing in wrongful death actions is initially established by statute. The first sentence

  of N.J.S.A. 2A:31-4 reads: “The amount recovered in proceedings under this chapter shall be for

  the exclusive benefit of the persons entitled to take any intestate personal property of the

  decedent, and in the proportions in which they are entitled to take the same.” Thus, under the

  New Jersey Wrongful Death statute, standing is afforded to those individuals who have a right to

  take under the intestacy laws, with the claims being brought by an Administrator Ad

  Prosequendum in the case of intestacy. N.J.S.A. 2A:31-4. When there is no surviving spouse, as

  in the case at bar, N.J.S.A. 3B:5-4(a) directs that the entire estate passes “to the decedent’s

  descendants by representation”. In essence, the suit is to be brought on behalf of the decedent’s

  surviving children.

         In this case, the surviving sister, as Administrator Ad Prosequendum, is entitled to bring

  the wrongful death claims on behalf of the interests of the decedent’s children. The children have

  the right to recovery, whereas their aunt is their representative bringing the action.



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         The second leg of the analysis under N.J.S.A. 2A:31-4, is to what extent the parties have

  a right to recover. The statute directs that only those individuals that were dependent on the

  decedent are entitled to share in the recovery. See Gangemi v. National Health, 291 N.J. Super.

  569, 574-75 (1996). The extent of a descendant’s dependence on the decedent directs the extent

  of damages- limited to pecuniary losses; however, the dependency issue has no bearing on

  standing. Id.

  IV.    CONCLUSION

         Thus, in this case, to the extent that the Court is inclined to apply White at all, plaintiffs

  respectfully submit that the proper relief here would be to allow plaintiffs to file a Second

  Amended Complaint, re-pleading the Wrongful Death Count by and through the Estate of

  Lashanda Anderson, by and through the Administrator Ad Pros, Gloria Black Meadows. The

  White decision, respectfully, does not in any way provide a legal basis for “dismissing all

  wrongful death claims” as the defendants seek in this Motion. Accordingly, the Motion should

  be denied and/or Plaintiff’s Cross-Motion to file a Second Amended Complaint pleading the

  Wrongful Death claims through the Administrator Ad Pros. should be Granted.




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